                Case 2:15-cr-00115-TLN Document 50 Filed 08/28/15 Page 1 of 3


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4
     Attorney for Defendant
5    TOU HER

6

7                            IN THE UNITED STATES DISTRICT COURT

8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,              )    2:15-CR-00115 TLN
                                            )
11                             Plaintiff,   )    STIPULATION AND ORDER
                                            )    TO CONTINUE STATUS CONFERENCE
12   v.                                     )
                                            )
13                                          )
     TOU HER,                               )
14                                          )
                             Defendant.     )
15   __________________________________     )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Matthew M. Yelovich, defendant, Steven
19
     Khamkeuanekeo, by and through his counsel, Ronald Peters, defendant, Kay Lee,
20
     by and through her counsel, Greg Foster, defendant, Chee Yang, by and through
21
     his counsel, Matthew Scoble, defendant, Tou Her, by and through his counsel,
22
     Erin J. Radekin, defendant, Frank Her, by and through his counsel, Danny
23
     Brace, defendant, Lee Yang, by and through his counsel, David Fischer, and
24
     defendant, Amy Her, by and through her counsel, Dustin Johnson, agree and
25
     stipulate to vacate the date set for status conference, September 3, 2015 at
26
     9:30 a.m., in the above-captioned matter, and to continue the status
27

28



                                     Stipulation and Order - 1
             Case 2:15-cr-00115-TLN Document 50 Filed 08/28/15 Page 2 of 3


1    conference to January 7, 2016 at 9:30 a.m. in the courtroom of the Honorable

2    Troy L. Nunley.

3          The reason for this request is that additional time is needed by the

4    defense to complete review of discovery, which is presently numbered through

5    item/page number 6498, for investigation, and for other defense preparation.

6    The Court is advised that Mr. Yelovich and all defense counsel referenced

7    above concur with this request and have authorized Ms. Radekin to sign this

8    stipulation on their behalf.

9          The parties further agree and stipulate that the time period from the

10   filing of this stipulation until January 7, 2016 should be excluded in

11   computing time for commencement of trial under the Speedy Trial Act, based

12   upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

13   Code T4, to allow reasonable time necessary for effective defense

14   preparation.   It is further agreed and stipulated that the ends of justice

15   served in granting the request outweigh the best interests of the public and

16   the defendant in a speedy trial.

17         Accordingly, the parties respectfully request the Court adopt this

18   proposed stipulation.

19   IT IS SO STIPULATED

20   Dated: August 26, 2015                     BENJAMIN WAGNER
                                                United States Attorney
21
                                          By:    /s/ Matthew M. Yelovich
22                                              MATTHEW M. YELOVICH
                                                Assistant United States Attorney
23

24   Dated: August 26, 2015                      /s/ Ronald Peters
                                                RONALD PETERS
25                                              Attorney for Defendant
                                                STEVEN KHAMKEUANEKEO
26

27   Dated: August 26, 2015                      /s/ Greg Foster
                                                GREG FOSTER
28                                              Attorney for Defendant



                                    Stipulation and Order - 2
             Case 2:15-cr-00115-TLN Document 50 Filed 08/28/15 Page 3 of 3


1                                                   KAY LEE

2    Dated: August 26, 2015                          /s/ Matthew Scoble
                                                    MATTHEW SCOBLE
3                                                   Attorney for Defendant
                                                    CHEE YANG
4
     Dated: August 26, 2015                          /s/ Erin J. Radekin
5                                                   ERIN J. RADEKIN
                                                    Attorney for Defendant
6                                                   TOU HER

7    Dated: August 26, 2015                          /s/ Danny Brace
                                                    DANNY BRACE
8                                                   Attorney for Defendant
                                                    FRANK HER
9
     Dated: August 26, 2015                          /s/ David Fischer
10                                                  DAVID FISCHER
                                                    Attorney for Defendant
11                                                  LEE YANG

12   Dated: August 26, 2015                          /s/ Dustin Johnson
                                                    DUSTIN JOHNSON
13                                                  Attorney for Defendant
                                                    AMY HER
14

15                                          ORDER

16         For the reasons set forth in the accompanying stipulation and

17   declaration of counsel, the status conference date of September 3, 2015 at

18   9:30 a.m. is VACATED and the above-captioned matter is set for status

19   conference on January 7, 2016 at 9:30 a.m.      The Court finds excludable time

20   in this matter through January 7, 2016 under 18 U.S.C. § 3161(h)(7)(B)(iv)

21   and Local Code T4, to allow reasonable time necessary for effective defense

22   preparation.   For the reasons stipulated by the parties, the Court finds that

23   the interest of justice served by granting the request outweigh the best

24   interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

25   3161(h)(7)(A), (h)(7)(B)(iv).

26   IT IS SO ORDERED.

27   Dated: August 27, 2015

28                                                   Troy L. Nunley
                                                     United States District Judge


                                     Stipulation and Order - 3
